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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, New York 11201

                                                     April 28, 2020

 By ECF

 Honorable Roanne L. Mann
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:    Chunn et al. v. Warden Derek Edge, Civil Action No. 20-cv-1590 (Kovner, J.)

 Dear Judge Mann:

         Pursuant to the Court’s April 25, 2020 Order, the parties respectfully submit this status
 report regarding Petitioners’ demand for paper sick call requests. The parties are currently
 conferring in good faith with respect to Petitioners' demand. This afternoon, Respondent provided
 Petitioners with information that they had gathered in response to the Court's inquiry. In
 response, Petitioners requested additional information on four issues. Respondent will endeavor
 to respond to all of Petitioners’ remaining queries regarding this issue by noon tomorrow (April
 29). The parties will then advise the court whether the issue is resolved.

        Respondent thanks the Court for its consideration of this matter.

                                                     Respectfully submitted,

                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                              By:            /s/
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 cc:   Honorable Rachel P. Kovner
       United States District Judge

       All Counsel of Record (by ECF)




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